 

10.
tt.
12,
13.
14.
15.
16.
L7.
18.
19.
20.
21.
22.
23.
24.
25.

26.

 

 

Case 2:09-cv-00446-TSZ Document 19 Filed 11/23/09 Page 1 of 2

09-CV-00446-CVSHT

THE HONORABLE THOMAS S. ZILLY

FILED _____. ENTERED
LOBGED _____. RECEIVED

 

 

NOV 23 2009

AT SEATTLE
CLERK US. DISTRICT COURT
WESTERN DISTRICT GF WASHINGTON

DEPUTY
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE
IN THE MATTER OF THE COMPLAINT
OF KATMAI FISHERIES, INC. AS
OWNER AND/OR OPERATOR OF THE Case No. 09-0446TSZ
VESSEL KATMAL GFFICIAL NUMBER
918779, FOR EXONERATION FROM PROPOSED] ORDER GRANTING
AND/OR LIMITATION OF LIABILITY MOTION FOR DEFAULT AND
ENTRY OF FINAL JUDGMENT

 

The Court, having reviewed the Limitation Plaintiff's Motion for Default

Judgment and Entry of Final Judgment, and the record to date, hereby finds and orders:

1. Limitation Plaintiff's Motion for Default and Entry of Final Judgment is
GRANTED;
2. Persons and entities who did not file a claim on or before June 30, 2009,

and persons and entities who did not file an answer on or before June 30, 2009, are not
permitted to pursue any proceedings of any nature or description in any venue whatsoever
against Limitation Plaintiff, their agents, servants or employees, or against ihe Vessel for
injury, death, or other damage arising out of the voyage that ended with the Vessel’s
sinking on October 22, 2008, while the Vessel was being operated upon the navigable

waters of the Bering Sea;

FINAL JUDGMENT - 1
Case No. 09-0446TS7, HOLMES WEDDLE & BARCOTT
999 THIRD AVENUE, SUITE 2600
SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292.8008

 

 

 

 
10.
Li.
12.
13.
14.
i5.
16.
17.
18.
19.
20.
21.
22.
23.
24.
25.

26.

 

 

Case 2:09-cv-00446-TSZ Document 19 Filed 11/23/09 Page 2 of 2

3. The security for costs filed by the Limitation Plaintiff in the amount of
$500.00 (Dkt. #2) is hereby cancelled and discharged;

4, In accordance with GR 6(b), the clerk is authorized and directed to draw a
check on the funds deposited in the registry of this court in the principle amount of
$500.00 plus all accrued interest, minus any statutory users fees, payable to Holmes,
Weddle & Barcott, and mail or deliver the check to Holmes, Weddle & Barcott. The
recipient’s address and Tax ID number will be provided to the Clerk; and

5. This case is hereby CLOSED.

DATED this 24 23, VS BSI 09

2009.

 

 

Thomas §. Zilly
United States District J adges

| ge 804

Presented by:
HOLMES, WEDDLE & BARCOTT

f

Michael\H. Williamson, WSBA #4185
Michael A. Barcott, WSBA #11317
Theresa K., Fus, WSBA #37984

999 Third Avenue, Suite 2600

Seattle, Washington 98104
Telephone: (206) 292-8008

Facsimile: (206) 340-0289

Email: mbarcott@hwb-law.com
Attorney for Limitation Plaintiff

 

FINAL JUDGMENT - 2
Case No. 09-0446TSZ HOLMES WEDDLE & BARCOTT
999 THIRD AVENUE, SUITE 2600
SEATILE, WASHINGTON 981044011
TELEPHONE (206) 292-8008

 

 

 

 
